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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



NETCHOICE, LLC et al.,

                  Plaintiffs,

v.                                             CASE NO. 4:21cv220-RH-MAF

JAMES UTHMEIER et al.,

                  Defendants.

______________________________/


                             ORDER DENYING THE MOTIONS TO
                            DISMISS AND TO COMPEL DISCOVERY


         The State of Florida has adopted legislation that imposes sweeping

requirements on “social media platforms.” Now pending are two motions that are

impacted by the meaning of that term—by whether the term applies to providers of

social media as that term is commonly understood or more broadly to all manner of

internet services. This order addresses this statutory-construction issue, denies the

defendants’ motion to dismiss for lack of standing and failure to state a claim on

which relief can be granted, and denies without prejudice the defendants’ motion to

compel discovery.




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    I. Background

         The plaintiffs are NetChoice, LLC and Computer & Communications

Industry Association. Both are trade associations whose members include some

that are, and some they say are not, subject to the legislation at issue. The

defendants are the Attorney General of Florida and the members of the Florida

Elections Commission, all in their official capacities. The defendants have a role in

enforcement of the provisions at issue and are proper defendants under Ex parte

Young, 209 U.S. 123 (1908).

         The plaintiffs challenge parts of Senate Bill 7072 as adopted by the 2021

Florida Legislature. The legislation created three new Florida statutes: § 106.072,

§ 287.137, and § 501.2041. The legislation also included findings and a

severability clause. The statutes were scheduled to take effect on July 1, 2021, but

a preliminary injunction in this case blocked implementation of §§ 106.072 and

501.2041. NetChoice, LLC v. Moody, 546 F. Supp. 3d 1082 (N.D. Fla. 2021). The

Eleventh Circuit affirmed in part and vacated and remanded in part. NetChoice,

LLC v. Att’y Gen., 34 F.4th 1196 (11th Cir. 2022). The Supreme Court vacated the

Eleventh Circuit decision and remanded. Moody v. NetChoice, LLC, 603 U.S. 707

(2024). The Eleventh Circuit in turn remanded the action to this court. See ECF

No. 149.




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         Back in this court, the plaintiffs filed an amended complaint challenging

Florida Statutes § 106.072(2), § 501.2041(2)(a), (b), (c), (d), (e), (f), (g), (h), and

(j), and § 501.204(3). The amended complaint asserts an as-applied First

Amendment claim (count 1), a facial First Amendment claim (count 2), a

vagueness claim under the First, Fifth, and Fourteenth Amendments (count 3), and

a preemption claim based on the Supremacy Clause and 47 U.S.C. § 230(c) (count

4). The as-applied claim is explicitly limited to “websites operated by NetChoice

and CCIA members when those websites curate and disseminate collections of

third-party speech posted on their services.” Am. Compl., ECF No. 171 at 29 ¶ 55.

         The defendants have moved to dismiss. They contend the amended

complaint is a shotgun pleading, that the plaintiffs lack standing to assert some of

the claims, and that, in some respects, the amended complaint fails to state a claim

on which relief can be granted. The defendants have also moved to compel

discovery, asserting the plaintiffs’ responses to specific discovery requests are

insufficient. The motions have been fully briefed and orally argued. The motions

are ripe for a decision.

    II. Shotgun pleading

         Federal Rule of Civil Procedure 8 requires a complaint to include “a short

and plain statement of the claim showing that the pleader is entitled to relief.” The

defendants say the amended complaint is a “shotgun pleading,” but it is not. See



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Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1324 (11th Cir. 2015).

The amended complaint sets out with commendable clarity what the plaintiffs

claim and why. Whatever else one might say about the status of this litigation, the

battle lines are drawn.

    III. The meaning of “social media platform” as used in the statutes

         A. Terminology

         At the outset, a word is in order about terminology. This order uses the term

“traditional social-media provider” to refer to what most people would probably

understand that term to mean—so Facebook, Instagram, YouTube, X, and dozens

of smaller but similar providers. The distinguishing characteristic is perhaps this:

the primary function of a traditional social-media provider, or at least a primary

function, is to receive content from users and in turn to make the content available

to other users, usually allowing those other users to respond. See, e.g., Moody v.

NetChoice, 603 U.S. at 719. This is hardly a precise definition, but none is needed;

the term is used only for purposes of this order. The term “traditional social-media

provider,” as used in this order, is intentionally not a description of the providers

who are covered by the challenged statutes.

         The challenged statutes, in contrast, use a different term, “social media

platform.” See Fla. Stat. § 501.2041(1)(g). Regardless of which side is correct

about the proper construction of that term’s statutory definition, it is clear that not



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all traditional social-media platforms are covered; to be covered, an entity must

meet minimum revenue or participant requirements. See id. § 501.2041(1)(g)4.

There is no significance to this order’s use of “provider” instead of “platform.” It is

just an effort to further distinguish two different sets of entities: traditional social-

media providers, on the one hand, and the social media platforms covered by the

statute, on the other hand.

         B. The statutory definition

         The statutes impose requirements on any “social media platform.” This is a

defined term:

                “Social media platform” means any information service,
             system, Internet search engine, or access software provider that:

                 1. Provides or enables computer access by multiple users to a
             computer server, including an Internet platform or a social media
             site;

                 2. Operates as a sole proprietorship, partnership, limited
             liability company, corporation, association, or other legal entity;

                  3. Does business in the state; and

                  4. Satisfies at least one of the following thresholds:

                a. Has annual gross revenues in excess of $100 million, as
             adjusted in January of each odd-numbered year to reflect any
             increase in the Consumer Price Index.

                b. Has at least 100 million monthly individual platform
             participants globally.

Fla. Stat. § 501.2041(1)(g).

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         C. Statutory construction

         In Florida, as elsewhere, statutory construction starts with the statutory text.

See, e.g., DeSantis v. Dream Defenders, 389 So. 3d 413, 418 (Fla. 2024) (citing

Alachua Cnty. v. Watson, 333 So. 3d 162, 169 (Fla. 2022)). Here the text of the

“social media platform” definition is broad. On any fair reading, almost any

facility or application allowing multiple users to communicate with a given entity

over the internet is an “information service.” This extends well beyond traditional

social-media providers. The text of the definition limits this only in subparagraphs

2, 3, and 4, but those subparagraphs include nothing that would limit the definition

to traditional social-media providers.

         This does not, however, end the inquiry. Context matters, too. See, e.g.,

Dream Defenders, 398 So. 3d at 418–19 (“To determine [statutory text’s] best

reading, we exhaust all the textual and structural clues that inform its meaning.”)

(internal citations and quotation marks omitted); see also Conage v. United States,

346 So. 3d 594, 598 (Fla. 2022) (stating that in interpreting statutes courts should

consider the statutory context and any canons of construction that may shed light on

the interpretive issues).

         Here the primary targets of the statutes’ substantive provisions are traditional

social-media providers. Many of the provisions make sense only when applied in

that context. And the formally adopted legislative findings also focus on social



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media. See Fla. SB 7072, § 1 (2021). In addition, other things being equal, a

definition usually should be construed consistently with the ordinary meaning of

the defined term. See A. Scalia & B. Garner, Reading Law: The Interpretation of

Legal Texts 228 (2012); see also Bond v. United States, 572 U.S. 844, 861–62 (“In

settling on a fair reading of a statute, it is not unusual to consider the ordinary

meaning of a defined term, particularly when there is dissonance between that

ordinary meaning and the reach of the definition.”). The defined term “social

media platform” would commonly be understood to refer to traditional social-

media providers, not the broader array of entities that the language of the statutory

definition encompasses when viewed in isolation.

         So there is something to be said on each side of this critical statutory-

construction issue. On balance, the text of the statutory definition carries the day,

resolving the dispute in the defendants’ favor. And the clincher is the source of that

text.

         Beyond any question, the statutory text derived from a preexisting federal

statute, 47 U.S.C. § 230, which was enacted “to promote the continued

development of the Internet and other interactive computer services and other

interactive media.” Id. § 230(b)(1). The statute defines “interactive computer

services” as “any information service, system, or access software provider that

provides or enables computer access by multiple users to a computer server,



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including specifically a service or system that provides access to the Internet.” Id.

§ 230(f)(2). The statute defines “access software provider” broadly. See id.

§ 230(f)(4).

         The breadth of the § 230(f)(2) definition is clear: it extends to any system

that allows multiple users access to or over the internet. An apparently unbroken

line of decisions, starting long before SB 7072 was adopted, supports this view.

See, e.g., McCall v. Zotos, No. 22-11725, 2023 WL 3946827, at *2 (11th Cir. June

12, 2023) (holding Amazon is an “interactive computer service”); Dowbenko v.

Google Inc., 582 F. App’x 801, 805 (11th Cir. 2014) (noting that, as was

uncontested, Google is an “interactive computer service”); Chi. Laws.’ Comm. for

Civ. Rts. Under L., Inc. v. Craigslist, Inc., 519 F.3d 666 (7th Cir. 2008) (treating

Craigslist as an “interactive computer service” without discussion); Universal

Commc’n Sys., Inc. v. Lycos, Inc., 478 F.3d 413, 419 (1st Cir. 2007) (holding a

finance message-board website host was an “interactive computer service”);

Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1123 (9th Cir. 2003) (holding a

commercial internet dating-service website was an “interactive computer service”).

         The similarity of the § 230(f)(2) language to the Florida definition of “social

media platform” is not coincidental. The drafting process that led to the initial

versions of this bill in the Florida Senate, SB 7072, and the House of

Representatives, HB 7013, plainly started with the federal definition—or with



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something derived from it—and marked it up. The markup did nothing to narrow

the definition in any relevant respect. Quite the contrary. The drafters added

“search engine” to the terms “information service, system, or access software

provider,” and otherwise left those terms alone. A traditional social-media provider

would not typically be called a search engine, so the drafters’ addition of that term

indicates the definition was intended to apply more broadly than just to traditional

social-media providers.

         The drafters also changed the language “including specifically a service or

system that provides access to the Internet,” as used in the federal statute, to

“including an Internet platform or a social media site.” The likely explanation is

this: the drafters wished to make doubly clear that a “social media site” was

included—as both sides agree it is—and otherwise thought “a service or system

that provides access to the Internet” could be shortened to “Internet platform”

without changing the meaning. That seems right. A system that provides “access to

the Internet,” and so is explicitly covered by the federal definition, could just as

readily be called an “Internet platform,” and so be explicitly covered by the state

definition.

         The progress of the legislation through the Florida Legislature confirms the

breadth of the definition. At a Senate hearing, the sponsor of the bill proposed what

he called a “technical” amendment intended to “clarify the intent of the bill,” but



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he also said the amendment would “narrow” the bill so that it would “only apply to

platforms that operate as public forums” and would not “capture every entity that

does business on the Internet.” See Fla. S. Comm. on Gvmt. Oversight &

Accountability, recording of hearing 28:40–29:15 (Fla. April 6, 2021), available at

https://thefloridachannel.org/videos/4-6-21-senate-committee-on-governmental-

oversight-and-accountability/. The intent, he said, was for the bill to apply to

social-media companies. Id. at 29:03. Under the amended definition, a “social

media platform” would have been “any technology platform or access software

provider that does business in the state and provides or enables computer access by

multiple users in a public digital forum for the primary purpose of connecting with

other users and creating and sharing user generated content over the Internet,” so

long as it met the same size requirements included in the original bill. Fla. S.

Comm. on Gvmt. Oversight & Accountability, Amendment No. 82884 to SB 7072

(Fla. Apr. 6, 2021), available at

https://www.flsenate.gov/Session/Bill/2021/7072/Amendment/828884/PDF.

         Had the amendment been accepted by the House, the coverage of the

legislation would be substantially narrower. But the House did not accept the

amendment, and the enacted bill retained the broader definition derived from

§ 230(f)(2). See Fla. H.R., Amendment No. 942955 to SB 7072 (Fla. Apr. 26,

2021), available at



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https://www.flsenate.gov/Session/Bill/2021/7072/Amendment/942955/PDF; see

also Fla. S. Comm. on Gvmt. Oversight & Accountability, House Message

Summary on House Amendment 942955 to SB 7072 (Fla. Apr. 28, 2021),

available at

https://www.flsenate.gov/Session/Bill/2021/7072/Analyses/2021s07072.hms.PDF.

         One could perhaps draw competing inferences: that the Senate sponsor was

right that the intent was to reach only traditional social-media providers, and the

amendment failed because others thought it unnecessary or just didn’t engage with

the issue; or that the adopted definition was broader and the amendment that would

have narrowed it failed to pass, confirming the Legislature’s choice of the broader

definition.

         The controlling definition is of course the definition that was enacted into

law, not the description the Senate sponsor provided in support of a proposed

amendment that failed. The inescapable fact is that the adopted language derived

from § 230(f)(2). When context and all appropriate considerations are factored in,

the adopted definition still means what it says.

         In sum, both § 230(f)(2) and Florida Statutes § 501.2041(1)(g) apply not just

to traditional social-media providers but also to a wide variety of other applications

that provide multiple users access to or over the internet.




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    IV. Associational standing

         Associational standing is governed by a three-prong test. An association has

standing to sue on behalf of its members when: (1) “its members would otherwise

have standing to sue in their own right;” (2) “the interests it seeks to protect are

germane to the organization’s purpose;” and (3) “neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit.”

Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). The

defendants assert the plaintiffs’ First Amendment claims fail prong (1) and their

§ 230 claim fails prongs (1) and (3).

         A. Participation of individual members

         The defendants assert the plaintiffs’ claims require participation of

individual members because of the factual issues that inhere in the claims—

especially the facial First Amendment claim, which, as the Supreme Court has

made clear, requires a comparison of a provision’s unconstitutional applications to

the provision’s plainly legitimate sweep. See Moody v. NetChoice, 603 U.S. at

723–26.

         That some member participation will be required does not defeat standing.

In Hospital Council of Western Pennsylvania v. City of Pittsburgh, 949 F.2d 83 (3d

Cir. 1991), the court, speaking through Judge (now Justice) Alito, traced Hunt’s




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member-participation provision back to Warth v. Seldin, 422 U.S. 490 (1975).

Hospital Council quoted this statement from Warth, 422 U.S. at 511:

             [S]o long as the nature of the claim and of the relief sought does
             not make the individual participation of each injured party
             indispensable to proper resolution of the cause, the association
             may be an appropriate representative of its members entitled to
             invoke the court’s jurisdiction.

Hosp. Council, 949 F.2d 89 (emphasis by the court in Hospital Council). The court

added: “[t]he Supreme Court has repeatedly held that requests by an association for

declaratory and injunctive relief do not require participation by individual

association members.” Id.; see also S. River Watershed All. v. Dekalb Cnty., 69

F.4th 809, 820 (11th Cir. 2023). The case at bar presents just such a request by

associations for declaratory and injunctive relief.

         In every associational standing case, some understanding of member

circumstances is essential, if only to confirm that at least one member would have

standing in its own right. The case at bar will surely involve more analysis of

member circumstances than some, but there is no reason to believe, at least at this

time, that the litigation will require member “participation”—that is, excessive

member involvement—within the meaning of Hunt. It cannot be said that

participation of each member is indispensable.

         Indeed, in one respect the breadth of the issues on the facial First

Amendment challenge cuts just the other way. The explanation of this has three



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parts. First, in United Food & Commercial Workers Union Local 751 v. Brown

Group, Inc., 517 U.S. 544, 555–56 (1996), the Supreme Court explained the purpose

of Hunt’s third prong—the member-participation prong. Second, in UAW v. Brock,

477 U.S. 274, 289 (1986), the Court noted associations often have more, not less,

ability to marshal the facts and provide needed expertise. Third, in opposing

standing here, the defendants either misunderstand what a member would have to

prove in its own case or the defendants assert, in effect, that the Supreme Court

was wrong in UAW when it noted that associations sometimes have superior

litigating capability.

         So the explanation starts with United Food. There the Court said Hunt’s third

prong is not constitutionally mandated but instead prudential; Congress can change

it. United Food, 517 U.S. at 555–56. In cases that meet Hunt’s first two prongs, a

representative ordinarily can litigate its members’ claims with the required

“adversarial vigor.” Id. at 556. The third prong is “best seen as focusing

on . . . matters of administrative convenience and efficiency”—promoting

“adversarial intensity,” which is present here in spades, and “guard[ing] against the

hazard of litigating a case to the damages stage only to find the plaintiff lacking

detailed records or the evidence necessary to show the harm with sufficient

specificity,” a risk not present here because there is no claim for damages. Id. at

556–57.



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         In UAW, the Court said an “association suing to vindicate the interests of its

members can draw upon a pre-existing reservoir of expertise and capital.” UAW,

477 U.S. at 289. The Court added: “Besides financial resources, organizations

often have specialized expertise and research resources relating to the subject

matter of the lawsuit that individual plaintiffs lack.” Id. (internal citation omitted).

         That brings us to the defendants’ misunderstanding of what a member would

have to prove in its own case or the defendants’ disagreement with the Supreme

Court’s analysis in UAW. In attacking associational standing, the defendants

emphasize the requirement to compare the challenged provisions’ unconstitutional

applications to their plainly legitimate sweep—the comparison the Supreme Court

put at the forefront of the facial First Amendment analysis. This, the defendants

say, requires participation of the associations’ members. But the comparison

involves not just the affected members of the plaintiff associations but all the

affected entities, whether or not they are members of the associations. And the

comparison would be required even if the challenge was brought not by an

association but by an individual member of the association or any other individual

social media platform.

         If, for example, a single platform brought a facial First Amendment

challenge to a provision affecting that platform, the court still would be required to

compare the unconstitutional applications of the provision to its plainly legitimate



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sweep. If a single affected platform brought the case, it would make no sense to

say the platform lacked standing. For such a claim, however, an association might

be better able, not less, to marshal the facts about multiple providers and provide

the expertise needed for proper analysis of the facial challenge. This is both self-

evident and consistent with what the Supreme Court said in UAW. That the facial

challenge in this case will involve facts about many entities will present no greater

difficulty than would a similar facial challenge brought by a single regulated entity.

The defendants do not deny—and could not plausibly deny—that the plaintiffs can

be counted on to litigate this case with the required adversarial vigor.

         In any event, Eleventh Circuit caselaw supports standing here. In Borrero v.

United Healthcare of New York, Inc., 610 F.3d 1296 (11th Cir. 2010), the plaintiffs

included associations whose members were healthcare providers. They claimed an

insurer failed to pay the amounts due under the providers’ various subscriber

agreements. Even though the providers had their own contracts, the Eleventh

Circuit rejected the defendants’ assertion that their individual participation in the

action was required.

         Among the authorities relied on in Borrero was Pennsylvania Psychiatric

Society v. Green Spring Health Services., Inc., 280 F.3d 278 (3d Cir. 2002).

Pennsylvania Psychiatric in turn relied heavily on Hospital Council. This does not




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make Hospital Council the law of the Eleventh Circuit, but there is no reason to

believe the law of the Eleventh Circuit is any different.

         Borrero’s reliance on Pennsylvania Psychiatric is significant in another

respect as well. Citing Pennsylvania Psychiatric, Borrero said this: “[S]hould the

actual litigation of the medical associations’ claims involve excessive individual

participation, the district court retains discretion to consider the associations’

standing at that later time. But, at the pleadings stage, we think dismissal is

premature.” Id. at 1306 n.3. The same is true here. See also 13A C. Wright, A.

Miller, & E. Cooper, Federal Practice and Procedure § 3531.9.5 (3d ed., Supp.

2023) (“Organization standing may be recognized tentatively if the complaint

advances theories that do not seem to require individual participation, even as it is

recognized that subsequent development of the action for trial may show that

organization standing should be rejected.”).

         Other Eleventh Circuit cases, too, support associational standing here.

         Thus, for example, in Moms for Liberty - Brevard County v. Brevard Public

Schools, 118 F.4th 1324 (11th Cir. 2024), the Eleventh Circuit upheld associational

standing to pursue both facial and as-applied First Amendment claims, labeling the

defendants’ standing defense “borderline frivolous.” Id. at 1330. To be sure, there

are differences between that case and this one. There the association wasn’t the

only plaintiff; some of its members joined the suit. There the defendants apparently



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rested their standing defense only on lack of injury, not the need for member

participation, and the scope of the factual issues was different. Still, the Eleventh

Circuit’s ringing endorsement of associational standing in that First Amendment

case is consistent with the view that the plaintiffs have standing here. And the

decision is flatly inconsistent with any assertion that an association never has

standing to pursue an as-applied First Amendment claim on behalf of its members.

         Other decisions supporting associational standing here include Speech First,

Inc. v. Cartwright, 32 F.4th 1110 (11th Cir. 2022), which upheld associational

standing to bring a First Amendment challenge without parsing whether it was

facial or as-applied, and National Rifle Association v. Bondi, 133 F.4th 1108 (11th

Cir. 2025) (en banc), which adjudicated an association’s Second Amendment as-

applied claim on the merits without questioning standing. Decisions of other

circuits rejecting arguments like the defendants’ here include Retired Chicago

Police Ass’n v. City of Chicago, 7 F.3d 584, 599–603 (7th Cir. 1993), and Playboy

Enterprises v. Public Service Commission of Puerto Rico, 906 F.2d 25, 34–36 (1st

Cir. 1990).

         In support of their contrary view, the defendants emphasize three decisions

that said individual participation was required, but none carries the day.

         First, in Harris v. McRae, 448 U.S. 297, 321 (1980), the Supreme Court held

an organization lacked standing to pursue its members’ Free Exercise Clause



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challenge to part of the Hyde Amendment—the statute prohibiting expenditure of

federal funds on abortions. The Court said individual participation of members was

required because a Free Exercise claim requires a showing of the coercive effect of

the challenged provision on an individual’s religious practice.

         This was consistent with the statement in Hospital Council that the need for

individual participation defeats standing only when “each injured party” is

“indispensable.” Hosp. Council, 949 F.2d at 89. In any event, that the ruling in

Harris was limited to the unique nature of a Free Exercise claim is confirmed by

the Court’s simultaneous adjudication on the merits of the organization’s other

claims—its claims under the Establishment, Due Process, and Equal Protection

Clauses.

         Moreover, while it probably seemed unlikely there that any individual

member of the association felt compelled by her religion to have an abortion, the

same is not true here, where the coercive effect of the challenged provisions, with

their unyielding mandates and extraordinary sanctions, could not be more clear.

         Second, in Georgia Cemetery Association v. Cox, 353 F.3d 1319 (11th Cir.

2003), an association representing for-profit cemetery providers asserted facial

Equal Protection and Takings Clause challenges to a state statute that regulated the

industry but provided exemptions for cemeteries operated by governments,

churches, and some others. One provision—apparently the only target of the



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Takings Clause claim—imposed a $50 cap on the price a cemetery could charge to

site a monument or transfer burial rights. The district court granted summary

judgment for the defendant on the merits of the Equal Protection claim and

dismissed the Takings Clause claim for lack of standing.

         The Eleventh Circuit upheld the rejection of the Equal Protection claim on

the merits. On the Takings Clause claim, the court said the proper analysis would

be the same—and the claim would fail—“[w]hether viewed as a standing argument

or a merits argument.” Id.at 1322. The court noted that members who did not

charge more than $50 for siting or transfers were unaffected. The court’s cryptic

discussion said that “either standing or a successful facial challenge” required

participation of members to show whether they were impacted. Id. The defendants’

suggestion that this means an association always lacks standing when only some of

its members will be affected by a challenged provision and the court will have to

figure out which ones is flatly inconsistent with the Supreme Court’s decision in

UAW.

         Georgia Cemetery provided, at most, an alternative holding that the

association lacked standing to assert a facial challenge under the Takings Clause—

a constitutional provision that, when applied to regulation of a business rather than

a physical taking, turns on the economic impact of the regulation on a specific




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party. See, e.g., Murr v. Wisconsin, 582 U.S. 383, 392–93 (2017) (discussing the

Court’s Takings Clause jurisprudence as it relates to regulatory burdens).

         That Georgia Cemetery does not apply beyond the Takings Clause context is

confirmed by the court’s simultaneous adjudication of the association’s Equal

Protection claim on the merits. And any assertion that the decision precludes an

association from pursuing a facial First Amendment challenge, let alone an as-

applied First Amendment challenge, is inconsistent with Moms for Liberty. One

need not have individual participation by members to know that requiring a

traditional social-media provider to publish content it does not wish to publish or

prohibiting a traditional social-media provider from adding comments to posts to

convey information it chooses to convey runs afoul of the First Amendment. The

plaintiff associations plainly have standing to pursue those claims, and while

standing is not distributed in gross, the associations also have standing to pursue

their First Amendment claims to each of the other challenged provisions.

         Third, the defendants rely on Free Speech Coalition, Inc. v. Attorney

General, 974 F.3d 408 (3d Cir. 2020). There two associations and ten of their

members asserted as-applied First Amendment challenges to federal statutes

imposing age-verification, recordkeeping, and labeling requirements on

participants in the pornography industry. The court said the requirement for narrow

tailoring of such requirements presented a fact-intensive individual inquiry making



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member participation necessary, thus defeating associational standing. In the case

at bar, in contrast, the plaintiff associations’ claims may be resolved on other

grounds before reaching any narrow-tailoring issue. And if the defendants assert

Free Speech Coalition suggests an association never has standing to assert an as-

applied First Amendment claim, Moms for Liberty establishes that the law of the

Eleventh Circuit, as opposed to the Third, is to the contrary.

         Finally, the defendants say this: “As this Court has pointed out, member

participation is required except ‘where individualized proof is unnecessary, the

plaintiff seeks no money damages, and the question presented is purely legal.’

Council of Ins. Agents & Brokers v. Gallagher, 287 F. Supp. 2d 1302, 1308 n.3

(N.D. Fla. 2003) (Hinkle, J.).” Defs.’ Mot. to Dismiss, ECF No. 173 at 17. This is

not what the opinion in that case said—the quotation is accurate, but “except” is

not. The opinion held the association that brought that case had standing—that an

association has standing when individualized proof is unnecessary, the plaintiff

seeks no money damages, and the question presented is purely legal. The opinion

did not say an association has standing only in those circumstances. When one says

the Endangered Species Act protects the Florida panther, it does not mean the Act

does not also protect the giant panda. So when an opinion says associational

standing exists when the question presented is “purely legal” and other conditions

are met, it does not mean associational standing cannot exist when the question



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presented is not “purely legal” but instead includes a factual component. Council of

Insurance Agents & Brokers casts no light on the issues in this case.

         In sum, the member-participation prong of the test for associational standing

does not defeat standing at this time.

         B. Imminent threat of prosecution

         The first prong of the Hunt test provides that an association has standing to

assert its members’ rights only if a member would itself have standing. The

defendants say the plaintiffs’ members would lack standing to assert a § 230 claim

in their own right because they do not face an imminent threat that the challenged

provisions will be enforced in a way that contravenes § 230. Paradoxically, the

defendants also cite a case in which a user is currently suing a member for

allegedly violating a challenged provision. See Mot. to Dismiss, ECF No. 173 at 6

(citing Perez-Poveda v. Google, LLC, No. 3:24cv900-RJC (M.D. Fla. Aug. 30,

2024)).

         The Eleventh Circuit has embraced the common-sense view that when a

state has recently adopted a statute, it is reasonable to infer the state intends to

enforce it. See HM Florida-ORL, LLC v. Gov. of Fla., __ F.4th __, No. 23-12160,

2025 WL 1375363 at *4 (11th Cir. May 13, 2025). This view is particularly apt

here. The circumstances make this clear, and the Governor’s signing statement

further confirms it. According to the amended complaint, the Governor said the



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state took “action” to protect “real Floridians” from the “Silicon Valley elites.”

Am. Compl., ECF No. 171 at 21 ¶ 38. This hardly suggests the state intends to do

nothing.

         The defendants also note that Florida Statutes §§ 501.2041(9) and

106.072(5) say the Florida provisions cannot be enforced to the extent inconsistent

with federal law and 47 U.S.C. § 230(e)(3). But this does not solve the problem. If

the state correctly understood the First Amendment and § 230, some of the Florida

provisions would not have been adopted at all.

         Thus, for example, on the initial appeal to the Eleventh Circuit, the

defendants did not even try to defend the statute’s post-prioritization provisions.

See NetChoice v. Att’y Gen., 34 F.4th at 1206 n.3. And at oral argument on the

current motion, the defendants repeatedly acknowledged that there are First

Amendment problems with some of the provisions. See Hr’g Tr., ECF No. 206 at 4

(“[W]e acknowledge that there are significant First Amendment questions with

respect to some applications of this statute.”); id. at 8 (“And as I said at the

beginning, we acknowledge that there are some First Amendment problems with

some aspects of this law.”); id. at 25 (“[A]gain, I acknowledge, Your Honor, there

are some First Amendment issues that we will have to contend with in litigation

where they are properly presented.”). Even so, the state has done nothing to repeal

or amend those provisions.



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         In sum, the plaintiffs have plausibly alleged an imminent threat that the state

will attempt to enforce the challenged statutes in violation of the First Amendment

and § 230. The assertion that the risk of enforcement is not sufficiently

impending—that there is no reason to believe the state will attempt to enforce the

provisions it recently enacted—ignores reality.

         C. Intra-association conflict

         The defendants say the plaintiffs lack standing because the issues present

conflicts of interest among the plaintiffs’ own members, primarily regarding the

proper construction of the statutory term “social media platform.” The defendants

say a broader definition would provide greater § 230 protection, a narrower

definition less, and the defendants speculate that some of the plaintiffs’ members

would prefer greater § 230 protection.

         There is a circuit split on whether an intra-association conflict defeats

associational standing. See Fla. Auto. Deals Ass’n, Inc. v. Ford Motor Co., No.

4:24cv282, 2024 WL 836384, at *2–3 (N.D. Fla. Jan. 25, 2024) (noting the conflict

and citing cases on both sides). The Eleventh Circuit has not weighed in.

         Here the alleged conflict is more theoretical than real. One might reasonably

doubt that any of the plaintiffs’ members—or anyone else—would really prefer to

subject themselves to SB 7072’s regulatory burdens and the risk of sanctions. The

plaintiffs’ members might well all prefer that the challenged statutes just go away.



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Moreover, this order’s construction of “social media platform” renders the issue

moot, or nearly so, at least in this court. The alleged conflict does not defeat the

plaintiffs’ standing.

         D. The appellate treatment of this very case

         This order would uphold the plaintiffs’ standing, at least as of now, for the

reasons set out above, even without considering the failure of the Eleventh Circuit

and Supreme Court to question the plaintiffs’ standing in this very case. But that

failure is fully consistent with this result.

         The Eleventh Circuit has insisted that it must consider standing on its own,

even when a defendant has made the conscious, deliberate decision not to raise the

issue in the district court. See, e.g., Jacobson v. Florida Sec’y of State, 974 F.3d

1236, 1245 (11th Cir. 2020). But in the initial appeal in this case, the Eleventh

Circuit questioned the plaintiffs’ standing not at all. To be sure, it was only later

that the defendants discovered the standards governing facial challenges and their

possible impact on standing. But the core merits issues remain, and the Eleventh

Circuit apparently had no trouble recognizing the plaintiffs’ standing to address

those issues.

         The Supreme Court, too, addressed the merits in substantial respects,

explicitly providing guidance to the courts on remand, without questioning the

plaintiffs’ standing. The Court could not have overlooked the issue; it was raised in



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a separate opinion. See Moody v. NetChoice, 603 U.S. at 760 n.2 (Thomas, J.,

concurring in the judgment). The defendants say the Court’s failure to challenge

standing was just a “drive-by” ruling that should be ignored. Perhaps so. But it was

a drive-by ruling in this very case.

         The appellate mandates did not limit this court’s ability—indeed, its

obligation—to address standing on remand. So the issue is open here. Still, it

would be hard to fault a district court for addressing the merits of a case on remand

precisely as directed by the Supreme Court.

         The plaintiffs have standing.

    V. Failure to state a claim

         The motion to dismiss apparently does not contend that the plaintiffs have

failed to state a First Amendment claim on which relief can be granted. The

Supreme Court and Eleventh Circuit opinions in the first round of appeals would

have made any such contention untenable. The defendants do, however, contend

the amended complaint fails to state a claim in other respects.

         A. Applicability of § 1983 to an association

         The defendants note that 42 U.S.C. § 1983 provides a cause of action for the

“party injured.” The defendants say this means an association that is not itself

injured cannot sue to protect the rights of its injured members.




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         Even aside from § 1983, relief from state action that contravenes federal law

is available under longstanding equitable principles and Ex parte Young, 209 U.S.

123 (1908). See, e.g., Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326

(2015) (“[A]s we have long recognized, if an individual claims federal law

immunizes him from state regulation, the court may issue an injunction upon

finding the state regulatory actions preempted.”). Declaratory relief is also

available. See 28 U.S.C. § 2201.

         This makes it unnecessary to determine at this time whether § 1983 also

applies in these circumstances. When a complaint states a claim on which relief

can be granted—as this one does—a district court is not required, in response to a

Federal Rule of Civil Procedure 12(b)(6) motion, to parse each of the complaint’s

allegations in search of errors, especially those that may never make a difference.

         On the merits, the issue presents a circuit split. Compare Nnebe v. Daus, 644

F.3d 147, 156 (2d Cir. 2011) (“It is the law of this Circuit that an organization does

not have standing to assert the rights of its members in a case brought under 42

U.S.C. § 1983, as we have interpreted the rights § 1983 secures to be personal to

those purportedly injured.”) (cleaned up), with Vote.Org v. Callanen, 89 F.4th 459,

473 (5th Cir. 2023) (holding an association could assert a claim under § 1983 and

noting § 1983 plaintiffs “often have been allowed to vindicate the rights of




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others”). Among the cases cited in Vote.Org were Virginia v. American

Booksellers Ass’n, 484 U.S. 383 (1988), and Craig v. Boren, 429 U.S. 190 (1976).

         The Eleventh Circuit, like the Supreme Court and Fifth Circuit, has allowed

associations to assert their members’ rights under § 1983. See Moms for Liberty -

Brevard Cnty. v. Brevard Pub. Schs., 118 F.4th 1324, 1330 (11th Cir. 2024)

(holding an organization’s § 1983 claim based on members’ allegedly suppressed

speech was not moot because § 1983 permits nominal damages); Church of

Scientology of Cal. v. Cazares, 638 F.2d 1272 (5th Cir. 1981) (holding a church

had standing to assert its members’ rights in a § 1983 action), abrogated on other

grounds by Blanchard v. Bergeron, 489 U.S. 87 (1989); see also Vote.org v. Ga.

State Election Bd., 661 F. Supp. 3d 1329, 1339 (N.D. Ga. 2023). Church of

Scientology predated Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir.

1981) (en banc).

         The amended complaint cannot be dismissed on this basis.

         B. Applicability of § 1983 to § 230

         By its terms, § 1983 provides a cause of action for deprivation of “any

rights, privileges, or immunities secured by the Constitution and laws.” Beyond

question, § 230 is a federal law that creates rights, and even more clearly

immunities, for covered social media providers. See Health & Hosp. Corp. of

Marion Cnty. v. Talevski, 599 U.S. 166, 183–84 (2023) (addressing creation of



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rights); see also 31 Foster Children v. Bush, 329 F.3d 1255, 1269–70 (11th Cir.

2003) (same). And § 230 would be enforceable in equity, even aside from § 1983,

as set out above. See also Nat’l Ass’n of the Deaf v. Florida, 980 F.3d 763, 774

(11th Cir. 2020) (“When a plaintiff challenges a state official’s action on federal

grounds, Ex Parte Young allows the plaintiff to seek prospective injunctive

relief.”).

         The defendants note, though, that § 1983 does not provide a cause of action

to enforce a statute when Congress has created a “comprehensive enforcement

mechanis[m] for protection of” the federal right or immunity at issue. Golden State

Transit. Corp. v. City of Los Angeles, 493 U.S. 103, 106 (1989) (quoting Smith v.

Robinson, 468 U.S. 992, 1005 n.9 (1984)). The defendants say § 230 creates just

such a comprehensive enforcement mechanism—a defense to any prohibited

lawsuit against the provider.

         The defendants are of course correct that § 230 explicitly provides a defense

to claims based on a provider’s hosting of materials or curating decisions; the

statute does not expressly create a cause of action. But that is not at all the kind of

comprehensive enforcement mechanism that forecloses a § 1983 action. See id. at

107 (noting § 1983 applies unless the defendant carries the burden of showing a

§ 1983 action “would be inconsistent with Congress’ carefully tailored scheme”

and adding: “We do not lightly conclude that Congress intended to preclude



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reliance on § 1983 as a remedy for the deprivation of a federally secured right.”)

(cleaned up); see also Talevski, 599 U.S. at 184 (if a statutory provision secures

§ 1983-enforceable rights, “rights so secured are deemed ‘presumptively

enforceable’ under § 1983.”) (quoting Gonzaga Univ. v. Doe, 536 U.S. 273, 284

(2002)).

         A hypothetical may help explain just how far the defendants’ position strays

from the proper analysis. Suppose a state passed a statute saying a social-media

provider could be held liable for damages based on any defamatory material posted

on its site—precisely the result § 230 was enacted to prohibit—and that each

posting of defamatory material would result in a substantial fine levied against the

provider, regardless of whether the provider was even aware of the defamatory

material. Any assertion that a provider who hosted millions of postings each day

could not seek prospective relief under § 1983 or equitable principles would be, in

the language of Moms for Liberty, borderline frivolous. Or perhaps not just

borderline.

         C. § 230 merits

         Count four of the amended complaint alleges § 230 preempts specific parts,

not all, of Florida Statutes §§ 106.072 and § 501.2041. The claim is labeled neither

facial nor as-applied; it is simply a preemption claim.




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         The defendants treat count four as facial and assert it fails to state a claim on

which relief can be granted. They base the assertion on the standard that ordinarily

governs facial challenges not involving the First Amendment: “a plaintiff cannot

succeed on a facial challenge unless he establishes that no set of circumstances

exists under which the law would be valid, or he shows that the law lacks a plainly

legitimate sweep.” Moody v. NetChoice, 603 U.S. at 723 (quoting United States v.

Salerno, 481 U.S. 739, 745 (1987), and Wash. State Grange v. Wash. State

Republican Party, 552 U.S. 442, 449 (2008) (cleaned up)). This principle is often

identified with Salerno.

         This is not, however, the proper analysis of a preemption claim, whether

labeled facial or as-applied or, as here, not labeled as either. The proper analysis of

a preemption claim is more nuanced.

         The controlling law of the circuit is set out in Club Madonna Inc. v. City of

Miami Beach, 42 F.4th 1231 (11th Cir. 2022). There the court squarely rejected the

assertion that a defendant can prevail on a preemption claim simply by showing the

challenged provision can sometimes be properly applied. Id. at 1256–57. Salerno,

the court said, does not require that result. See id.

         As Madonna recognizes, preemption can be express, conflict, or field. Id. at

1253. “Express preemption occurs when ‘the text of a federal statute explicitly

manifests Congress’s intent to displace state law.’ ” Id. (quoting United States v.



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Alabama, 691 F.3d 1269, 1281 (11th Cir. 2012)). “Conflict preemption occurs

either when it is physically impossible to comply with both the federal and the

state laws or when the state law stands as an obstacle to the objective of the federal

law.” Id. (quoting Fla. State Conf. of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1167

(11th Cir. 2008)). “Field preemption occurs when a congressional legislative

scheme is so pervasive as to make the reasonable inference that Congress left no

room for the states to supplement it.” Id.

         Madonna said two considerations are critical to the analysis: first,

Congress’s purpose in enacting the law, and second, the assumption that the state’s

historic police powers are not to be superseded unless that was the clear and

manifest purpose of Congress. Id. at 1253 (quoting Alabama, 691 F.3d at 1282).

The analysis also requires examination of the federal statutory text, its regulatory

framework, and legislative history if necessary. Id. at 1253–54. Because the state

statute at issue there conflicted with Congress’s purpose in enacting a federal

statute, the state statute was preempted. This was so even though the state statute

could sometimes be applied consistently with the federal statute. The no-set-of-

circumstances standard did not dictate a different outcome. See also Arizona v.

United States, 567 U.S. 387 (2012) (holding a state law preempted even though the

state law sometimes aligned with federal law).




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         Madonna controls the analysis on the current motion to dismiss. Count four

plausibly alleges both express and conflict preemption of the challenged

provisions. The provisions are not invalid in all their applications; indeed, the

Eleventh Circuit said some of the provisions likely do not violate § 230. But the

statute challenged in Madonna also was not invalid in all its applications.

         The motion to dismiss makes no effort to engage with Madonna or to apply

its analysis. Instead, the defendants address Madonna in a footnote, asserting with

little analysis that the decision is no longer good law. See Mot. to Dismiss, ECF

No. 173 at 20 n.2. The assertion is wrong and runs afoul of the Eleventh Circuit’s

prior-panel rule. The rule binds later Eleventh Circuit panels and, just as clearly,

district courts in the circuit. “Under that rule, a prior panel’s holding is binding on

all subsequent panels”—and on all district courts within the circuit—“unless and

until it is overruled or undermined to the point of abrogation by the Supreme Court

or by [the Eleventh Circuit] sitting en banc.” United States v. Archer, 531 F.3d

1347, 1352 (11th Cir. 2008).

         No Supreme Court or Eleventh Circuit en banc decision—and not even any

later Eleventh Circuit panel—has questioned the continuing vitality of Madonna.

But the defendants say two later Supreme Court cases have undermined Madonna.

Neither comes close to meeting the circuit’s stringent standard for abrogation of a

prior panel’s decision.



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         First, the defendants cite Moody v. NetChoice, the Supreme Court’s decision

in this very case, as quoted above. But there the Court did not even mention

preemption. The reason, as a separate opinion recognized, was that the issue was

not before the Court. See Moody v. NetChoice, 603 U.S. at 772 n.8 (Alito, J.,

concurring in the judgment). Moody v. NetChoice says nothing about the proper

analytical approach to a preemption issue or the interplay between that analysis

and Salerno.

         Second, the defendants cite United States v. Rahimi, 602 U.S. 680 (2024).

There the Court rejected a defendant’s Second Amendment challenge to his

conviction for possessing a firearm while subject to a domestic-violence

injunction. There was no preemption issue; the word is not even in the opinion.

Rahimi says nothing about the proper analytical approach to a preemption issue.

         In sum, Madonna is still the law of the circuit. In due course, count four will

require a searching, provision-by-provision analysis. But in their motion to

dismiss, the defendants have not undertaken that analysis, nor have the plaintiffs in

their response. The motion to dismiss does not present any well-founded basis to

dismiss count four for failure to state a claim.

         D. Vagueness

         A statute is unconstitutionally vague if it “fails to provide a person of

ordinary intelligence fair notice of what is prohibited” or is “so standardless that it



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authorizes or encourages seriously discriminatory enforcement.” United States v.

Williams, 553 U.S. 285, 304 (2008); see also HM Florida-ORL, LLC v. Gov. of

Fla., __ F.4th __, No. 23-12160, 2025 WL 1375363, at *12–13 (11th Cir. May 13,

2025); Keister v. Bell, 29 F.4th 1239, 1258–59 (11th Cir. 2022). The amended

complaint plausibly alleges some of the challenged provisions are

unconstitutionally vague.

         Thus, for example, Florida Statutes § 501.2041(2)(h) prohibits a social

media platform from using post-prioritization algorithms for content “posted by or

about a user” who is known by the platform to be a candidate for office. Florida

Statutes § 501.2041(1)(e) defines post-prioritization as “action by a social media

platform to place, feature, or prioritize certain content or material ahead of, below,

or in a more or less prominent position than others in a newsfeed, a feed, a view, or

in search results.”

         The statute does not define “about” a candidate. On its face,

§ 501.2041(2)(h) may suggest a post by or about a candidate must always go to the

top of every other user’s feed unless a person—not an algorithm—says otherwise.

But even placing the post at the top meets the literal definition of post-

prioritization, thus prohibiting that placement, too. And if the statute requires

placement of all a candidate’s posts at the top, a candidate would apparently have a

statutory right to flood the zone, making it difficult or impossible for users to



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receive their preferred content. The Legislature could not have intended this. But if

the provision cannot or will not be applied literally, a social media platform is left

with no way to determine what the provision really requires.

         The defendants have not attempted to explain what these provisions really

mean or how they would be applied. Nor have the defendants offered any theory

under which a state can preclude this kind of curating without violating the First

Amendment. See NetChoice v. Att’y Gen., 34 F.4th at 1206 n.3 (noting the

defendants chose not to defend the post-prioritization provisions on the appeal in

this case). Count three adequately alleges that some of the statutory provisions are

vague.

         The defendants say, though, that a statute can be held unconstitutionally

vague only if it is vague in all its applications. The Supreme Court has explicitly

rejected that formulation. See Johnson v. United States, 576 U.S. 591, 602–03

(2015); see also Henry v. Sheriff of Tuscaloosa Cnty., No. 24-10139, 2025 WL

1177671, at *44 (11th Cir. Apr. 23, 2025) (discussing Johnson’s rejection of the

vague-in-all-applications test and stating: “As it explained, the ‘supposed

requirement of vagueness in all applications is not a requirement at all, but a

tautology: If we hold a statute to be vague, it is vague in all its application (and

never mind the reality).’”) (quoting Johnson, 576 U.S. at 593–94).




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         In asserting the contrary, the defendants rely on Stardust 3007, LLC v. City

of Brookhaven, 899 F.3d 1164, 1176 (11th Cir. 2018). There the court addressed a

city ordinance and first held it did not violate the plaintiff’s First Amendment

rights. The court then addressed vagueness without any First Amendment overlay.

The court rejected the vagueness claim because the ordinance clearly applied to the

plaintiff; in that respect the ordinance was not vague at all. That makes the case

different from the case at bar, in which, at least for purposes of the motion to

dismiss, the challenged provisions do implicate the plaintiffs’ members’ First

Amendment rights and are vague in their application to the members.

         In dictum, Stardust cited an older Supreme Court decision and repeated the

no-set-of-circumstances formula that Johnson squarely rejected. That dictum,

sandwiched between the Supreme Court’s decision in Johnson and the Eleventh

Circuit’s discussion in Henry, does not revive the no-set-of-circumstances formula

that Johnson rejected. Dictum “is not binding on anyone for any purpose.” United

States v. Garcia, 405 F.3d 1260, 1274 (11th Cir. 2005) (quoting McDonald’s Corp.

v. Robertson, 147 F.3d 1301, 1315 (11th Cir. 1998) (Carnes, J., concurring)).

         The amended complaint states a vagueness claim on which relief can be

granted.




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         E. Scope of injunctive relief

         The defendants correctly note that injunctive relief must be tailored to the

violation at issue. If the plaintiffs prevail, that will be done. This is not, however, a

basis for dismissal of the amended complaint.

    VI. Motion to compel discovery

          The defendants propounded interrogatories and production requests,

including some that were burdensome, even if relevant. The plaintiffs answered

some of the interrogatories and produced some of the requested documents but

stood on objections to others. The defendants have moved to compel. The motion

lists five categories of discovery requests in dispute, but three are moot because the

plaintiffs say—and the defendants do not now contest—that for those three

categories, the plaintiffs have answered interrogatories to the extent of their

knowledge and produced all documents within their custody or control.

          The first remaining area of dispute involves detailed requests about the

plaintiffs’ many individual members. The plaintiffs provided discovery for

members covered under the plaintiffs’ now-rejected definition of “social media

platform”—the only members for whom the plaintiffs seek relief on their as-

applied claims. The plaintiffs did not provide discovery for other members who,

under the definition of that term adopted by this order, are also covered. This order




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refers to those members—the ones this order holds are covered but the plaintiffs

said were not—as “other covered members.”

          Evidence is “relevant” if “it has any tendency to make a fact more or less

probable than it would be without the evidence” and “the fact is of consequence in

determining the action.” Fed. R. Evid. 401. Information about covered members,

including other covered members, is relevant. Information about members who are

not covered even under the definition adopted by this order, if there are any, is not

relevant, absent other circumstances. At oral argument, the defendants apparently

acknowledged this.

         That evidence is relevant does not necessarily mean it is within the scope of

discovery. Under Federal Rule of Civil Procedure 26(b)(1), the scope of discovery,

unless further limited by court order, is this:

             Parties may obtain discovery regarding any nonprivileged matter
             that is relevant to any party’s claim or defense and proportional to
             the needs of the case, considering the importance of the issues at
             stake in the action, the amount in controversy, the parties’ relative
             access to relevant information, the parties’ resources, the
             importance of the discovery in resolving the issues, and whether
             the burden or expense of the proposed discovery outweighs its
             likely benefit.

Some of the listed considerations support broad discovery in this case. The stakes

are high, the amount in controversy is substantial, the constitutional and public-

policy implications are even more substantial, and both sides have abundant

resources.

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         Even so, the detailed information the defendants seek about other covered

members will almost surely make no difference in resolving the issues. The

information will have little or no bearing on the plaintiffs’ as-applied claims;

indeed, the information may not even be relevant to those claims. The information

is relevant to the facial claims because it may bear on the required comparison of

the unconstitutional application of the challenged provisions, on the one hand, to

the provisions’ plainly legitimate sweep, on the other hand. See Moody v.

NetChoice, 603 U.S. at 723–26. But it is already overwhelmingly likely that the

facial claims will not survive that comparison. Given the proper construction of

“social media platform” as set out in this order, it is clear that the provisions have a

plainly legitimate sweep.

         Consider, for example, the prohibition on ending a candidate’s access to a

social-media platform. Telling a traditional social media provider it must publish

content it does not wish to publish ordinarily violates the First Amendment, as

Moody v. NetChoice makes clear. But surely a state can prohibit taking down a

candidate’s access to the internet—closing the candidate’s account with an internet

service provider—on the eve of an election, at least without a legitimate basis for

doing so. A legitimate basis for doing so might include failure to pay for the

service or introduction of malware but probably not political opposition to the

candidate. Similarly, it seems likely that a state can prohibit an email or text



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provider who consistently transmits messages without curation from attaching the

provider’s own unfavorable comments to a candidate’s messages in the run-up to

an election. Obtaining detailed information from the ISP or email provider—

anything more than a basic description of the service—is unlikely to affect this

analysis.

         It bears noting, too, that the plaintiffs have the burden of proof on the

comparison between the challenged provisions’ unconstitutional applications and

their plainly legitimate sweep. If the plaintiffs fail to marshal the facts or resist

discovery of them, it will undermine the plaintiffs’ position on both standing and

the merits. The defendants have little to fear from the plaintiffs’ opposition to the

discovery at issue.

         The Supreme Court’s discussion of the plaintiffs’ facial claims and the

breadth of the inquiry those claims will require has understandably triggered every

good litigator’s best, or perhaps worst, instinct: to turn over every rock, to catalog

every fact, to explore every nuance. But this litigation need not be nearly that

complicated. Some of these challenged provisions, as applied to some of the

plaintiffs’ members, are almost surely unconstitutional; at oral argument, the

defendants came close to acknowledging this. With “social media platform” now

properly construed and the required facial-challenge methodology now settled by

the Supreme Court, the plaintiffs’ facial challenge to SB 7072, and perhaps even to



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its various provisions viewed in isolation, is likely to fail—and the disputed

discovery, if allowed, would almost surely make no difference. Discovery that

imposes a significant burden and is almost sure to make no difference is ordinarily

beyond the properly defined scope of discovery; it fails the proportionality test. If,

as the litigation progresses, it turns out this is incorrect—if it turns out the facial

challenge is more substantial than this order suggests and that additional discovery

might enhance the defendants’ ability to fully present their position—the discovery

issue can be revisited.

         As of now, the disputed discovery seems unlikely to make a difference. This

order thus denies the motion to compel without prejudice.

    VII. Conclusion

         For these reasons,

         IT IS ORDERED:

         1. The motion to dismiss, ECF No. 173, is denied.

         2. The motion to compel discovery, ECF No. 191, is denied.

         SO ORDERED on May 22, 2025.

                                         s/Robert L. Hinkle
                                         United States District Judge




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